           Case 6:17-cr-00257-JCM Document 40 Filed 07/05/18 Page 1 of 3


                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

UNITED STATES OF AMERICA,                       )
  Plaintiff,                                    )
                                                )
vs.                                             )    Case No. W-17-CR-257(1)-JCM
                                                )
EDDIE ELLIS, JR.                                )
  Defendant.                                    )

               MOTION TO UNSEAL WRIT OF EXECUTION DOCUMENTS

          COMES NOW the United States of America and files this Motion to Unseal Writ of

Execution documents. In support hereof, Plaintiff shows as follows:

          It is no longer necessary for these proceedings to be sealed as the Defendant has been

informed of the writ. The United States of America therefore moves this Court to unseal the

following documents:

      •       Motion to Seal Documents;
      •       Order Sealing Documents;
      •       Notice of Appearance;
      •       Application for Writ of Execution;
      •       Order for Issuance of Writ of Execution;
      •       Writ of Execution;
      •       Clerk’s Notice of Post-Judgment Execution;
      •       Notice of Levy; and
      •       Specification of Property Subject to Execution.


                                                    Respectfully submitted,

                                                    JOHN F. BASH
                                                    UNITED STATES ATTORNEY
                                               By: /s/ Steven E. Seward
                                                   STEVEN E. SEWARD
                                                   Assistant United States Attorney
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         Case 6:17-cr-00257-JCM Document 40 Filed 07/05/18 Page 2 of 3



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                                                    ATTORNEYS FOR UNITED STATES


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed via
the Court’s CM/ECF system and served via first class mail on July 5, 2018 on the following non-
CM/ECF party:

 Eddie Ellis, Jr.                              Members Choice of Central Texas
 114 Farm to Market Road 147                   Federal Credit Union
 Marlin, Texas 76661                           4631 W. Waco Drive
 Defendant                                     Waco, Texas 76710
                                               Party in Interest




                                                       /s/ Steven E. Seward
                                                       STEVEN E. SEWARD
                                                       Assistant United States Attorney




                                                2
           Case 6:17-cr-00257-JCM Document 40 Filed 07/05/18 Page 3 of 3



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 UNITED STATES OF AMERICA,                     )
   Plaintiff,                                  )
                                               )
 vs.                                           )    Case No. W-17-CR-257(1)-JCM
                                               )
 EDDIE ELLIS, JR.                              )
   Defendant.                                  )

                            ORDER UNSEALING DOCUMENTS

       The United States of America has moved to unseal previously filed documents. The Court

finds that there is no longer a need to seal documents herein because the defendant to this

proceeding has been informed of the writ. The Court therefore grants the motion and ORDERS

that previously sealed documents filed in the garnishment proceeding be unsealed, to-wit:

       •     Motion to Seal Documents;
       •     Order Sealing Documents;
       •     Notice of Appearance;
       •     Application for Writ of Execution;
       •     Order for Issuance of Writ of Execution;
       •     Writ of Execution;
       •     Clerk’s Notice of Post-Judgment Execution;
       •     Notice of Levy; and,
       •     Specification of Property Subject to Execution.

       IT IS SO ORDERED.


  Dated:
                                              JEFFREY C. MANSKE
                                              UNITED STATES MAGISTRATE JUDGE
